                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


Carpenters District Council of Kansas City )
Pension Fund , et al.,                     )
                                           )
Plaintiffs,                                )
                                           )
        v.                                 )        Case No. 4:16-01063-CV-W-HFS
                                           )
M.S. Consulting, LLC,                      )
                                           )
Defendant.                                 )

                                   CLERK’S JUDGMENT

      Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

X Decision by Court. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered.

       It is therefore, ORDERED, ADJUDGED and DECREED that judgment by default is
       hereby entered against defendant, M.S. CONSULTING, LLC and in favor of plaintiffs,
       Carpenters District Council of Kansas City Pension Fund, Carpenters Health and
       Welfare Trust Fund of St. Louis, Carpenters Joint Training Fund of St. Louis,
       Carpenters Vacation Trust Fund of St. Louis, St. Louis-Kansas City Carpenters
       Regional Council and their respective Trustees for failure to answer or to plead,
       pursuant to Rule 55(b) of the Federal Rules of Civil Procedure.

              COUNT 1
              That the plaintiff, Carpenters District Council of Kansas City Pension Fund, have
              and recover of and from the defendant, for the period June 24, 2015 through July
              29, 2015 –
                      $3,246.38 in unpaid fringe benefit contributions;
                      $ 695.46 as and for liquidated damages;
                      $ 128.15 representing interest on the unpaid contributions;
                      $2,701.19 representing reasonable attorneys’ fees,
              for a total of $6,771.18; and for their costs herein incurred and expended, and that
              execution issue therefore.

              COUNT 2
              That the plaintiff, Carpenters Health and Welfare Trust Fund of St. Louis, have and
              recover of and from the defendant, for the period June 24, 2015 through July 29,
              2015 –



         Case 4:16-cv-01063-HFS Document 15 Filed 01/26/17 Page 1 of 2
                      $2,675.80 in unpaid fringe benefit contributions;
                      $ 521.59 as and for liquidated damages;
                      $ 96.11 representing interest on the unpaid contributions;
                      $2,069.00 representing reasonable attorneys’ fees,
             for a total of $5,362.50; and for their costs herein incurred and expended, and that
             execution issue therefore.

             COUNT 3
             That the plaintiff, Carpenters Vacation Trust Fund of St. Louis, have and recover of
             and from the defendant, for the period June 24, 2015 through July 29, 2015 –
                     $414.20 in unpaid fringe benefit contributions;
                     $ 72.44 as and for liquidated damages;
                     $ 13.35 representing interest on the unpaid contributions;
                     $287.36 representing reasonable attorneys’ fees,
             for a total of $787.35; and for their costs herein incurred and expended, and that
             execution issue therefore.

             COUNT 4
             That the plaintiff, Carpenters Joint Training Fund of St. Louis, have and recover of
             and from the defendant, for the period June 24, 2015 through July 29, 2015 –
                     $157.40 in unpaid fringe benefit contributions;
                     $ 28.98 as and for liquidated damages;
                     $ 5.34 representing interest on the unpaid contributions;
                     $114.95 representing reasonable attorneys’ fees,
             for a total of $306.67; and for their costs herein incurred and expended, and that
             execution issue therefore.

             COUNT 5
             That the plaintiff, St. Louis-Kansas City Carpenters Regional Council, have and
             recover of and from the defendant, for the period June 24, 2015 through July 29,
             2015 –
                     $750.56 in unpaid fringe benefit contributions;
                     $130.40 as and for liquidated damages;
                     $ 24.03 representing interest on the unpaid contributions;
                     $574.71 representing reasonable attorneys’ fees,
             for a total of $1,479.70; and for their costs herein incurred and expended, and that
             execution issue therefore.


                                            PAIGE WYMORE-WYNN, CLERK OF COURT
January 26, 2017

                                            /s/ Paige Wymore-Wynn
                                            by Robin L. Jones, Deputy Clerk




         Case 4:16-cv-01063-HFS Document 15 Filed 01/26/17 Page 2 of 2
